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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW JERSEY
 ______________________________
                                 :
 In re:                          :     Chapter 11
                                 :
 BlockFi Inc., et al., 1         :     Case No. 22-19361 (MBK)
                                 :     jointly administered
                                 :
 Debtors.                        :     Hearing Date: January 24, 2023 at 10:00 a.m.
 ______________________________:

     OBJECTION OF THE UNITED STATES TRUSTEE TO THE MOTION OF THE
       OFFICIAL COMMITTEE OF UNSECURED CREDITORS TO SEAL THE
         REDACTED PORTIONS OF THE COMMITTEE’S SUPPLEMENTAL
        OBJECTION TO DEBTORS’ MOTION FOR ENTRY OF AN ORDER (I)
     APPROVING THE DEBTORS’ RETENTION PROGRAMS AND (II) GRANTING
                           RELATED RELIEF

        The United States Trustee (the “U.S Trustee”), by and through his counsel, and in

 furtherance of his duties pursuant to 28 U.S.C. §§ 586(a)(3) and (5), respectfully submits this

 objection (the “Objection”) to the Motion of the Official Committee of Unsecured Creditors to

 Seal the Redacted Portions of the Committee’s Supplemental Objection to Debtors’ Motion for


 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
 tax identification number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi
 Lending LLC (5017); BlockFi Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi
 International Ltd. (N/A); BlockFi Investment Products LLC (2422); BlockFi Services, Inc.
 (5965) and BlockFi Lending II LLC (0154).
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 Entry of an Order (i) Approving the Debtors’ Retention Programs and (ii) Granting Related

 Relief (Dkt. 311) (the “Seal Motion”). 2

                                 PRELIMINARY STATEMENT

        1.      The Official Committee of Unsecured Creditors (the “Committee”) seeks an order

 from the Court redacting certain information contained in its Supplemental Objection to Debtors’

 Motion for Entry of an Order (i) Approving the Debtors’ Retention Programs and (ii) Granting

 Related Relief (the “Supplemental Objection”). The Committee states that the information

 requested to be redacted “generally constitutes analysis from Committee professionals based off

 of data the Debtors’ professionals provided during confidential meet and confers with the

 Committee and their professionals, which information the Committee committed to protecting

 and treating as confidential in good faith.” See Dkt. 311 at ¶ 10.

        2.      The Committee has not made a showing that the information sought to be

 redacted contains information subject to any confidentiality or privilege other than advising that

 the “Committee committed to protecting and treating [the information] as confidential in good

 faith.” See id. As such, the U.S. Trustee objects to the redactions sought in the Supplemental

 Objection, and leaves the Committee, or any party seeking to keep the information sealed, to its

 burden under 11 U.S.C. § 107(a) to seal such information.

                          JURISDICTION, VENUE AND STANDING

        3.      This Court has jurisdiction to hear and determine this Objection.

        4.      Pursuant to 28 U.S.C. § 586(a)(3), the U.S. Trustee is charged with administrative

 oversight of the bankruptcy system in this District. Such oversight is part of the U.S. Trustee’s

 overarching responsibility to enforce the laws as written by Congress and interpreted by the

 2
  Capitalized terms used herein as defined terms and not otherwise defined shall have those
 meanings ascribed to them in the Seal Motion.



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 courts. See United States Trustee v. Columbia Gas Systems, Inc. (In re Columbia Gas Systems,

 Inc.), 33 F.3d 294, 295-96 (3d Cir. 1994) (noting that U.S. Trustee has “public interest standing”

 under 11 U.S.C. § 307 which goes beyond mere pecuniary interest); Morgenstern v. Revco D.S.,

 Inc. (In re Revco D.S., Inc.), 898 F.2d 498, 500 (6th Cir. 1990) (describing the U.S. Trustee as a

 “watchdog”).

        5.      Under 11 U.S.C. § 307, the U.S. Trustee has standing to be heard on the issues

 raised by this Objection.

                             BACKGROUND AND RELEVANT FACTS

        A.      The Bankruptcy Cases

        6.      On November 28, 2022 (the “Petition Date”), BlockFi Inc. (“BlockFi”), BlockFi

 Trading LLC (“Trading”), BlockFi Lending LLC (“Lending”), BlockFi Wallet LLC (“Wallet”),

 BlockFi Ventures LLC (“Ventures”), BlockFi International Ltd. (“International”), BlockFi

 Investment Products LLC (“Investment”), BlockFi Services, Inc. (“Services”) and BlockFi

 Lending II LLC (“Lending II” and together with BlockFi, Trading, Lending, Wallet, Ventures,

 International, Investment and Services, the “Debtors”) filed voluntary petitions for relief under

 chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy

 Code” or “Code”). See Case Nos. 22-19361, 22-19363, 22-19365, 22-19366, 22-19367, 22-

 19368, 22-19370, 22-19371 and 22-19374 at Dkt. 1.

        7.      On November 29, 2022, the Court entered an Order directing that these cases be

 jointly administered. See Dkt. 42.

        8.      On December 21, 2022, the U.S. Trustee filed a Notice of Appointment of an

 Official Committee of Unsecured Creditors. See Dkt. 130. On December 22, 2022, the U.S.




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 Trustee filed an Amended Notice of Appointment of an Official Committee of Unsecured

 Creditors. See Dkt. 131.

        9.      No trustee or examiner has been appointed in these chapter 11 cases.

        10.     “BlockFi acquires clients by offering custom products and services that enable its

 clients to meet their financial goals, and continuously expands its product suite to deepen its

 relationship with its clients over time.” See Dkt. 17 at page 10 of 41. “BlockFi serves retail

 clients through web and mobile applications, and its products enable individuals and small

 businesses to store and/or earn interest on, buy and sell, borrow U.S. Dollars secured by, and

 earn (via credit card rewards program) digital assets.” See id. BlockFi serves institutional

 clients such as “hedge funds, market makers, proprietary trading firms, trading desks,

 cryptocurrency miners, exchanges, and corporations with bespoke financing, trading, and

 treasury solutions relating to digital assets.” See id.

        B.      The Seal Motion

        11.     On January 17, 2023, the Committee filed the Seal Motion seeking an order

 authorizing the Committee to file a redacted copy of the Supplemental Objection. See Dkt. 311.

        12.     The Committee argues that the information sought to be redacted in the

 Supplemental Objection “generally constitutes analysis from Committee professionals based off

 of data the Debtors’ professionals provided during confidential meet and confers with the

 Committee and their professionals, which information the Committee committed to protecting

 and treating as confidential in good faith.” See id. at ¶ 10.

        13.     For the reasons set forth below, the Court should deny the Seal Motion as the

 Committee has not made a specific showing that the information to be redacted falls within the




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 parameters of an exception to Section 107(a) by demonstrating “that the interest in secrecy

 outweighs the presumption in favor of access.” 3

                             LAW, ANALYSIS AND ARGUMENT

        14.     A movant has the burden of demonstrating that information may be sealed under

 Section 107 of the Bankruptcy Code. “It is clear that the courts of this country recognize a

 general right to inspect and copy public records and documents, including judicial records and

 documents.” See Nixon v. Warner Communications, Inc., 435 U.S. 589, 597 (1978); accord

 Pansy v. Borough of Stroudsburg, 23 F.3d 772, 780-81 (3d Cir. 1994) (recognizing “a right of

 access to judicial proceedings and judicial records” that is “beyond dispute”) (citation omitted).

 The “strong presumption in favor of public access to judicial records and papers . . . has

 statutory, common law and First Amendment underpinnings[.]” See In re Continental Airlines,

 150 B.R. 334, 341 (D. Del. 1993).

        15.     The common law right of access “antedates the Constitution” and “promotes

 public confidence in the judicial system by enhancing testimonial trustworthiness and the quality

 of justice dispensed by the court.” See In re Avandia Marketing, Sales Practices and Products

 Liability Litigation, 924 F.3d 662, 672 (3d Cir. 2019) (citations, quotation marks omitted).

 Courts have generally observed that the common law right of access is codified in Section 107(a)

 of the Bankruptcy Code. See In re A C & S Inc., 775 Fed.Appx. 78, 79 (3d Cir. 2019); In re

 Alterra Healthcare Corp., 353 B.R. 66, 74-75 (Bankr. D. Del. 2006) (citing cases); In re

 Anthracite Capital, Inc., 492 B.R. 162, 170 (Bankr. S.D.N.Y. 2013).


 3
   Pursuant to Section 107(c)(3) of the Bankruptcy Code, the U.S. Trustee shall have full access to
 all information contained in any pleading filed with the Court and shall not disclose such
 information if such information is specifically protected by the Court. As of the date of this
 Objection, despite the U.S. Trustee confirming to the Committee and the Debtors that he would
 abide by Section 107(c)(3), neither the Debtors nor the Committee have authorized an
 unredacted copy to be provided to the U.S. Trustee.


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        16.     Section 107 of the Bankruptcy Code provides in relevant part:

                    (a) Except as provided in subsections (b) and (c) of this
                    section and subject to section 112, a paper filed in a case under
                    this title and the dockets of a bankruptcy court are public
                    records and open to examination by an entity at reasonable
                    times without charge.

                    (b) On request of a party in interest, the bankruptcy court
                    shall, and on the bankruptcy court’s own motion, the
                    bankruptcy court may—

                        (1) protect an entity with respect to a trade secret or
                            confidential     research,    development,       or
                            commercial information; or
                        (2) protect a person with respect to scandalous or
                            defamatory matter contained in a paper filed in a
                            case under this title.

 See 11 U.S.C. § 107.

        17.     Section 107 of the Bankruptcy Code establishes “a broad right of public access to

 all papers filed in a bankruptcy case, subject to certain limited exceptions.” See In re A C & S

 Inc., 775 Fed.Appx. at 79. “Under § 107(a), unless a paper filed in a bankruptcy court falls

 within one of the express exceptions in § 107(b) or (c), it must be open to public inspection. On

 the other hand, if a paper falls within one of the express exceptions in § 107(b), on the request of

 a party in interest, the bankruptcy court shall protect a person.” See In re Food Management

 Group, LLC, 359 B.R. 543, 554 (Bankr. S.D.N.Y. 2007). Sealing is “an extraordinary measure

 that is warranted only under rare circumstances as ‘public monitoring is an essential feature of

 democratic control.’” See In re Anthracite Capital, Inc., 492 B.R. at 171 (citation omitted).

        18.     For the “commercial information” exception to apply, the information at issue has

 to result in “an unfair advantage to competitors by providing them information as to the

 commercial operations of the debtor.” See In re Alterra Healthcare Corp., 353 B.R. at 75,

 quoting In re Orion Pictures Corp., 21 F.3d 24, 27-8 (2d Cir. 1994), Ad Hoc Protective Comm.



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 for 10 ½% Debenture Holders v. Itel Corp. (In re Itel Corp.), 17 B.R. 942, 944 (9th Cir. BAP

 1982). “[D]isclosure of [the] information [must] reasonably be expected to cause the entity

 commercial injury.” See In re Alterra Healthcare Corp., 353 B.R. at 75 (further citations

 omitted). Further, a court must find that the information “is so critical to the operations of the

 entity seeking the protective order that its disclosure will unfairly benefit that entity’s

 competitors.” See Id. at 75-6, quoting In re Barney’s, Inc., 201 B.R. 703, 708-9 (Bankr.

 S.D.N.Y. 1996).

        19.     The Committee bears the burden of showing that the information falls within the

 parameters of an exception to Section 107(a) by demonstrating “that the interest in secrecy

 outweighs the presumption in favor of access.” See In re Continental Airlines, 150 B.R. at 340

 (quotation marks, citations omitted); accord In re Food Management Group, LLC, 359 B.R. at

 561; In re FiberMark, Inc., 330 B.R. 480, 504 (Bankr. D. Vt. 2005); In re Oldco M Corp., 466

 B.R. 234, 237 (Bankr. S.D.N.Y. 2012). “It is not an easy burden nor should it be.” See In re

 Gitto/Global Corp., 321 B.R. 367, 373 (Bankr. D. Mass. 2005), aff’d 2005 WL 1027348 (D.

 Mass. May 2, 2005), aff’d 422 F.3d 1 (1st Cir. 2005).

        20.     In addition, an agreement among parties to keep information confidential is not

 determinative. See In re Muma Services, Inc., 279 B.R. 478, 485 (Bankr. D. Del. 2002) (if

 parties could file documents under seal simply because of contractual confidentiality provisions,

 then the Court “would never have control over motion practice” and Section 107 “would be

 meaningless.”); Bradford & Bigelow, Inc. v. Richardson, 109 F.Supp.3d 445, 447 (D. Mass.

 2015) (some parties have “misconception that they, rather than the court, get to decide when

 documents are sealed. That is not so.”).




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        21.     Here, the Committee has not established that the information sought to be

 redacted in the Supplemental Objection should be sealed under Section 107 of the Bankruptcy

 Code. As such, the Motion to Seal should be denied.

        22.     The U.S. Trustee reserves any and all rights, remedies, duties, and obligations

 found at law, equity or otherwise, including the right to complement, supplement, augment, alter

 and/or modify this Objection.

        WHEREFORE, the U.S. Trustee respectfully requests that the Court deny the Seal

 Motion and grant such other relief as may be appropriate and just.

                                              Respectfully submitted,

                                              ANDREW R. VARA
                                              UNITED STATES TRUSTEE
                                              REGIONS 3 & 9

                                              By:      /s/ Jeffrey M. Sponder
                                                      Jeffrey M. Sponder
                                                      Trial Attorney

                                                      Lauren Bielskie
                                                      Trial Attorney
 Dated: January 20, 2023




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